            Case 1:22-cv-07875-LGS Document 9 Filed 11/14/22 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 VICTORIA DICKS,                                              :
                                              Plaintiff,      :    22 Civ. 7875 (LGS)
                                                              :
                            -against-                         :          ORDER
                                                              :
 EVERYDAY HEALTH, INC.,                                       :
                                              Defendant. :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order dated October 13, 2022, required the parties to file a proposed case

management plan and joint letter by November 9, 2022. The parties did not file these materials.

The initial pretrial conference is currently scheduled for November 16, 2022, at 4:10 p.m.

        WHEREAS, Defendant Everyday Health, Inc., has not appeared and Plaintiff has not filed

proof of service of Defendant on the docket.

        WHEREAS, an Order issued November 10, 2022, directed the parties to submit the

proposed case management plan and joint letter by November 11, 2022, if Plaintiff had been in

communication with Defendant. It further directed Plaintiff to file a status letter by November

11, 2022, regarding her efforts to serve Defendant if she had not been in communication with

Defendant. No such materials or letter was filed. It is hereby

        ORDERED that, in accordance with the Order issued November 10, 2022, the parties

shall file the required case management plan and joint letter or Plaintiff shall file the status letter

regarding her efforts to serve Defendant as soon as possible, and no later than November 16,

2022. If Plaintiff continues to ignore the Court’s orders, the case will be dismissed for failure to

prosecute. It is further
           Case 1:22-cv-07875-LGS Document 9 Filed 11/14/22 Page 2 of 2


       ORDERED that the conference scheduled for November 16, 2022, is ADJOURNED to

November 30, 2022, at 4:10 p.m. The conference will be telephonic and will take place on the

following conference line: 888-363-4749; access code 558-3333. The start time is approximate,

but the parties shall be prepared to begin at the scheduled time.

Dated: November 14, 2022
       New York, New York




                                                 2
